                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

JOHNNY AND MARY PRICE, ET AL.,                                            PLAINTIFFS,

VS.                                                  CIVIL ACTION NO. 4:05CV170-P-A

COLDWELL BANKER REAL ESTATE’
CORP., ET AL.,                                                            DEFENDANTS.

                                            ORDER

       This matter comes before the court upon Coldwell Banker Real Estate Corporation’s Rule

42(a) Motion for Consolidation [141-1]. After due consideration of the motion, the court finds as

follows, to-wit:

       For the same reasons discussed by Hon. Michael P. Mills in Haggie v. Coldwell Banker Real

Estate Corp., Cause No. 4:04CV111, which the undersigned adopts and incorporates herein, the

court finds that the motion to consolidate should be denied.

       IT IS THEREFORE ORDERED AND ADJUDGED that Coldwell Banker Real Estate

Corporation’s Rule 42(a) Motion for Consolidation [141-1] is DENIED.

       SO ORDERED this the 21st day of November, A.D., 2006.



                                                               /s/ W. Allen Pepper, Jr.
                                                               W. ALLEN PEPPER, JR.
                                                               UNITED STATES DISTRICT JUDGE
